287 F.3d 1171
    AMERICAN SIMMENTAL ASSOCIATION, Appellee,v.ST. PAUL FIRE &amp; MARINE INSURANCE COMPANY, Appellant.
    No. 00-3217.
    No. 00-3218.
    No. 00-3312.
    United States Court of Appeals, Eighth Circuit.
    April 26, 2002.
    
      1
      Appeal from the United States District Court for the District of Nebraska.
    
    
      2
      Appellee American Simmental Association's motion for attorney fees and costs is granted in part. The award for attorney's fees is reduced to $48,000.00, in addition to out-of-pocket costs of $1,699.73.
    
    